Case 1:15-cv-00842-RGA Document 39 Filed 05/27/16 Page 1 of 8 PageID #: 738




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-842-RGA

  ATLANTIC BROADBAND GROUP, LLC,

                         Defendant.
  CHANBOND, LLC,

                         Plaintiff,
             v.                             C.A. No. 15-843-RGA

  BRIGHT HOUSE NETWORKS, LLC,

                         Defendant.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-844-RGA

  CABLE ONE INC.,

                         Defendant.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-845-RGA
  CABLEVISION SYSTEMS CORPORATION, et
  al.,

                         Defendants.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-846-RGA

  CEQUEL COMMUNICATIONS, LLC, et al.,

                         Defendants.
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  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-847-RGA

  CHARTER COMMUNICATIONS, INC.,

                         Defendant.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-848-RGA

  COMCAST CORPORATION, et al.,
                         Defendants.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-849-RGA

  COX COMMUNICATIONS, INC., et al.,

                         Defendants.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-850-RGA

  MEDIACOM COMMUNICATIONS
  CORPORATION,

                         Defendant.
  CHANBOND, LLC,

                         Plaintiff,

             v.                             C.A. No. 15-851-RGA

  RCN TELECOM SERVICES, LLC,

                         Defendant.




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  CHANBOND, LLC,

                               Plaintiff,

                v.                                    C.A. No. 15-852-RGA

  TIME WARNER CABLE INC., et al.,

                               Defendants.
  CHANBOND, LLC,

                               Plaintiff,

                v.                                    C.A. No. 15-853-RGA

  WAVEDIVISION HOLDINGS, LLC,
                               Defendant.
  CHANBOND, LLC,

                               Plaintiff,

                v.                                    C.A. No. 15-854-RGA

  WIDEOPEN WEST FINANCE, LLC,

                               Defendant.

                                 NOTICE OF SERVICE

         PLEASE TAKE NOTICE that, on May 27, 2016, copies of (1) Unified Online,

  Inc.’s Objections and Responses to Defendants’ Subpoena to Produce Documents,

  Information, or Objects or to Permit Inspection of Premises; (2) Z-Band, Inc.’s

  Objections and Responses to Defendants’ Subpoena to Produce Documents,

  Information, or Objects or to Permit Inspection of Premises; (3) CBV, Inc.’s

  Objections and Responses to Defendants’ Subpoena to Produce Documents,

  Information, or Objects or to Permit Inspection of Premises; and (4) this Notice of

  Service were served via electronic mail as shown:




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